              Case 15-2224, Document 144, 04/23/2018, 2286059, Page1 of 3


                     Supreme Court of the United States
                            Office of the Clerk
                        Washington, DC 20543-0001
                                                                      Scott S. Harris
                                                                      Clerk of the Court
                                                                      (202) 479-3011

                                       April 23, 2018

Clerk
United States Court of Appeals
  for the Second Circuit
United States Courthouse
40 Foley Square
New York, NY 10007

       Re: Carlo J. Marinello, II
           v. United States,
           No. 16-1144 (Your docket No. 15-2224)

Dear Clerk:

       Attached please find a certified copy of the judgment of this Court in the
above-entitled case.

                                                         Sincerely,

                                                         SCOTT S. HARRIS, Clerk

                                                         By

                                                         Herve’ Bocage
                                                         Judgments/Mandates Clerk


Enc.
cc:    Mr. Matthew S. Hellman, Esq.
             Case 15-2224, Document 144, 04/23/2018, 2286059, Page2 of 3


                    Supreme Court of the United States
                           Office of the Clerk
                       Washington, DC 20543-0001
                                                                      Scott S. Harris
                                                                      Clerk of the Court
                                                                      (202) 479-3011

                                       April 23, 2018


Mr. Matthew S. Hellman, Esq.
Jenner & Block LLP
1099 New York Ave., NW
Suite 900
Washington, DC 20001

       Re:   Carlo J. Marinello, II
             v. United States,
             No. 16-1144

Dear Mr. Hellman:

       Attached please find a certified copy of the judgment of this Court in the
above-entitled case.

                                                         Sincerely,

                                                         SCOTT S. HARRIS, Clerk

                                                         By

                                                         Herve’ Bocage
                                                         Judgments/Mandates Clerk




Enc.
cc:    All attorneys of record
       Clerk, USCA 2nd Circuit
                  (Your docket No. 15-2224)
            Case 15-2224, Document 144, 04/23/2018, 2286059, Page3 of 3


                         Supreme Court of the United States
                                        No. 16-1144


                                  CARLO J. MARINELLO, II,

                                                                      Petitioner
                                             v.

                                     UNITED STATES

                  ON WRIT OF CERTIORARI to the United States Court of Appeals for the

Second Circuit.

              THIS CAUSE came on to be heard on the transcript of the record from the

above court and was argued by counsel.

              ON CONSIDERATION WHEREOF, it is ordered and adjudged by this

Court that the judgment of the above court is reversed, and the case is remanded to the

United States Court of Appeals for the Second Circuit for further proceedings consistent

with the opinion of this Court.


                                       March 21, 2018
